                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ROANOKE DIVISION

ALFONZA HARDY GREENHILL,                       )
                                               )
                  Plaintiff,                   )      Case No. 7:16CV00068
                                               )
v.                                             )      OPINION AND ORDER
                                               )
HAROLD W. CLARKE, ET AL.,                      )      By: James P. Jones
                                               )      United States District Judge
                 Defendants.                   )

      Alfonza Hardy Greenhill, Pro Se Plaintiff; Laura H. Cahill, Office of the
Attorney General, Richmond, Virginia, for Defendants.

      The plaintiff, Alfonza Hardy Greenhill, a Virginia inmate proceeding pro se,

filed this civil rights action under 42 U.S.C. § 1983 and the Religious Land Use

and Institutionalized Persons Act, 42 U.S.C. §§ 2000cc to 2000cc-5. Greenhill

asserts that restrictive living conditions in long-term administrative segregation

interfere with his ability to exercise his Muslim religious beliefs related to his

participation in the weekly service known as Jumu’ah, 1 as well as wearing a beard

and maintaining a religious diet.




      1
         “Jumu’ah is commanded by the Koran and must be held every Friday after the
sun reaches its zenith and before the Asr, or afternoon prayer.” O’Lone v. Estate of
Shabazz, 482 U.S. 342, 345 (1987).




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       Shortly after the case was filed, Greenhill filed a motion seeking preliminary

injunctive relief ordering prison officials to provide him with a television broadcast

of Jumu’ah, a revision of the grooming policy, and a change in how permissibly-

prepared food (“hahal”) is served in segregation.2            I denied the motion, and

Greenhill noted an interlocutory appeal. The United States Court of Appeals for

the Fourth Circuit remanded the case for further proceedings on Greenhill’s request

for a preliminary injunction requiring prison officials to provide him with a closed-

circuit television broadcast of Jumu’ah. Greenhill v. Clarke, No. 16-6542, 2016

WL 7414198, at *1 (4th Cir. Dec. 22, 2016) (unpublished). Specifically, the court

of appeals held that I had failed to make specific findings of fact and conclusions

of law in denying relief on this claim as required by Federal Rule of Civil

Procedure 52(a)(2). Id. It affirmed my ruling as to the grooming policy and halal

food claims. Id.

       In obedience to the ruling of the court of appeals, it is ORDERED as

follows:

       1.     Greenhill’s Motion for Preliminary Injunction (ECF No. 35)

              relating to a television broadcast of Jumu’ah is REFERRED to

       2
          A preliminary or interlocutory injunction is a provisional remedy issued prior to
the final determination of the case, issued either to preserve the status quo or to prevent
irreparable loss of rights prior to the final determination of the merits of the plaintiff’s
claim. James J. Wagstaffe et al, Federal Civil Procedure Before Trial 13-5 (2016).
Denial of preliminary injunctive relief does not affect the right to seek a permanent
injunction following final determination of the case on the merits. Id. at 13-6.
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            the Honorable Pamela Meade Sargent, United States Magistrate

            Judge, to conduct further proceedings and to submit to the

            undersigned a report setting forth appropriate findings of fact,

            conclusions of law, and a recommended disposition, pursuant to

            28 U.S.C. § 636(b)(1)(B); and

      2.    Consideration of the defendants’ Motion for Summary

            Judgment (ECF No. 25) is STAYED, pending the outcome of

            the proceedings on the plaintiff’s pending preliminary

            injunction motion.

                                             ENTER: February 6, 2017

                                             /s/ James P. Jones
                                             United States District Judge




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